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                                  UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                          Case Number 8:01cr55-001

                                                            USM Number 17090-047

JORDAN IRVIN
                         Defendant
                                                            KAREN M. SHANAHAN

                                                            Defendant’s Attorney
___________________________________

                                  JUDGMENT IN A CRIMINAL CASE
                         (For Revocation of Probation or Supervised Release)

THE DEFENDANT admitted guilt to violation of the mandatory condition which states that the defendant shall
pay restitution as ordered; standard conditions #2, #3 and #6 of the term of supervision.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offenses:

                                                                                      Date Violation
       Violation No.                     Nature of Violation                           Concluded


              1             Failure to pay restitution                                   Ongoing

              2             Failure to report                                           May 2006

              3             Failure to enter and complete anger                          Ongoing
                            management class as directed by probation

              4             Failure to report change in employment and                 March 2006
                            address

The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984 and Booker/FanFan decisions.

Allegation 5 is withdrawn on the motion of the United States.

Following the imposition of sentence, the Court advised the defendant of his right to appeal pursuant to the
provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and that such Notice of Appeal
must be filed with the Clerk of this Court within ten (10) days of this date.

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs and special assessments
imposed by this judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and
United States attorney of any material change in the defendant’s economic circumstances.

                                                                              Date of Imposition of Sentence:
                                                                                        September 25, 2006

                                                                                      s/ Joseph F. Bataillon
                                                                                  United States District Judge

                                                                                       September 27, 2006
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                                       IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons
to be imprisoned for a total term of twelve (12) months and one (1) day.

        The Court makes the following recommendations to the Bureau of Prisons:



        (X) The defendant is remanded to the custody of the United States Marshal.


                            ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______


                                                             _____________________________
                                                                     Signature of Defendant

                                           RETURN

It is hereby acknowledged that the defendant was delivered on the ____ day of _______________,
_____ to _________________________________, with a certified copy of this judgment.


                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                   By:__________________________________

NOTE: The following certificate must also be completed if the defendant has not signed the
Acknowledgment of Receipt , above.

                                        CERTIFICATE


It is hereby certified that a copy of this judgment was served upon the defendant this ____ day of
_______________, ______


                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                   By:__________________________________
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                                     SUPERVISED RELEASE

          No term of supervised release is imposed.


                              CRIMINAL MONETARY PENALTIES


       The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.

       Total Assessment                        Total Fine                      Total Restitution

             $100.00                               .00                             $9,100.00
            Paid in Full



The Court has determined that the defendant does not have the ability to pay interest and it is
ordered that:



                                                  FINE

          No fine imposed.

                                            RESTITUTION

         Restitution in the amount of $9,100.00 is hereby ordered. The defendant shall make
restitution to the following payees in the amounts listed below. A balance of $8,860.00 (amount
does not reflect interest) remains due and payable.

         If the defendant makes a partial payment, each payee shall receive an approximately
proportional payment, unless specified otherwise in the priority order or percentage payment
column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid in
full prior to the United States receiving payment.
                                                                                     Priority Order
                               **Total Amount                Amount of               or Percentage
     Name of Payee                 of Loss               Restitution Ordered          of Payment

 J.C. Wade Post Office             $9,100.00                  $9,100.00                 Priority
                                                                                 Order/Percentage

 Totals                            $9,100.00                  $9,100.00


         **Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of
Title 18, United States Code, for offenses committed on or after September 13, 1994 but before April 23,
1996.
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                                     SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay; payment of the total criminal monetary penalties
shall be due as follows:


        Lump sum payment of $ 9,200.00 due immediately, balance due


        Special instructions regarding the payment of criminal monetary penalties:

During the defendant’s term of incarceration, he shall pay 25% of his prison earnings toward the
unpaid balance of the criminal monetary penalty, i.e., restitution and special assessments.l

        Following release from incarceration, the defendant will make monthly installment payments
of $50.00 or 10% of the defendant’s gross income, whichever is greater, toward the unpaid
balance of the criminal monetary penalty. The first such payment shall commence 30 days
following the defendant’s discharge from incarceration. Payments shall continue until the criminal
monetary penalty is paid in full. The defendant shall provide proof of payment to the United States
Probation Office as directed.

       If a change in the defendant’s economic circumstances affects the defendant’s ability to
make installment payments in the amount ordered, he shall immediately notify the United States
Probation Office. A change in economic circumstances includes the ability to increase the amount
of monthly installments or to pay the balance of the criminal monetary penalty in full.

Unless the court has expressly ordered otherwise in the special instruction above, if this judgment
imposes a period of imprisonment, payment of criminal monetary penalties shall be due during the
period of imprisonment. All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the
court, unless otherwise directed by the court, the probation officer or the United States attorney.

      All financial penalty payments are to be made to the Clerk of Court for the District of
Nebraska, 111 S. 18th Plaza, Suite 1152, Omaha, NE 68102-1322.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

 Restitution is hereby ordered jointly and severally with:         Michael Kelly, Jr. and Marcus
Ford.

CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
